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EXHIBIT |

p_ {President's Copy}

HIGHLAND COMMUNITY COLLEGE
HIGHLAND, KANSAS
40-MONTH ADMINISTRATIVE EMPLOYMENT CONTRACT

 

- is hereby agreed, by and between B. J, Smith of Cape Girardeau, Missouri, hereinafter referred fo as the Employee, and
‘fightand Community College, in the City of Highland, Doniphan County, Kansas, hereinafter referred to as the College,

That the Employee is hereby employed by the College from August 1, 2011, through May 31, 2012, in the position of Head
Women’s Basketball ch and other duties as assigned by the President at an annual rate of $42,000, payable in monthly
installments $3 66 per month. Two installments will be payable on August 15, 2011, and one installment payable thereafter
on the fiftee’ 3 otegen calendar month beginning with September 15, 2014, until the full salary has been paid.
That since this position Is not a 12-month position, the following will apply:

4. The Employee shall accrue Sick Leave at the Administrative rate as described in the Staff Policy Handbook;

2, The College will pay the Employee's single (annual) membership in the health and dental insurance if so desired by the

Employee,

3, The College will provide $50,000 of term life Insurance coverage;

4. The Employee will be paid for regularly scheduled college holidays that fall within the dates of this contract;

5. The Employee will participate in the Kansas Public Employees Retirement System;

That the Employee shall be under the supervision of the President who is the executive officer and official representative of the
Board of Trustees, The President's requests and directions, therefore, shall have the weight and force they would have if they

came from the Board of Trustees directly;

That the said Employee agrees to abide by the written rules and reguiations of the Board of Trustees of Highland Community
College which are hereby made a part of this contract and found in the Staff Policy Handbook;

That the College may terminate this contract prior fo the above stated termination date in the event the Employee fails or
refuses to abide by and/or comply with the rules and regulations set forth in the Staff Pollcy Handbook or the requests and
directions made andfor given by the President of Highland Community College. ff this contract is terminated by Highland
Community College for any of the reasons herein stated, the portion of the Employee’s salary not paid at the time of the
Employee's termination shall be forfeited;

That the Employee acknowledges that this contract of employment creates an obligation to perform the duties herein specified
for a period of time beginning August 1, 2011, and ending May 31, 2012. in the event the Employee leaves, quits or otherwise
terminates this contract of employment prior to the ending date thereof, that portion of the Employee's salary not yet earned at
the time the Employee leaves, quits or otherwise terminates employment shall be forfeited. In the event the Employee leaves,
quits or otherwise terminates their employment prior to the end of the term herein specified, the Employee shall also be
obligated to pay the College liquidated damages in an amount equal to twenty percent (20%) of the contract not yet earned by
the Employee. Upon application by the Employee to the Board of Trustees of Highland Community College, and for good
cause shown, the Board may waive some or all of the liquidated damages due from the Employee. All liquidated damages due
hereunder shall be paid by the Employee to the College within ten (10) days of the date on which the Employee leaves, quits, or
othenwise terminates employment unless the Board of Trustees of Highland Community College, upon application of the
Employee and for good cause shown, authorizes an extension of the time within such shall be paid;

That the legal and lawful deductions shall be made from the salary.

This contract Is made contingent upon and shall become binding if and when the obligation created hereby shall be approved
and included in the budget and raised by taxes as provided by law.

Executed for the Board of Trustees My signature affixed below acknowledges
pursuant to authority granted by that | accept all the terms and conditions

such Board.

Ae 4A

David Rejst, Presiddnt C/ B. J. o Employee

 

 

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Date

 

 
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(President's Copy)
HIGHLAND COMMUNITY COLLEGE
HIGHLAND, KANSAS
{0-MONTH ADMINISTRATIVE EMPLOYMENT CONTRACT

t ig hereby agreed, by and between B. J. Smith of Highland, Kansas, hereinafter referred to as the Employee, and Highiand
ommunity College, in the City of Highland, Doniphan County, Kansas, hereinafter referred to as the College,

That the Employee is hereby employed by the College from August 1, 2012, through May 31, 2013, in the position of Head
Women's Basketball Coach and other duties as assigned by the President at an annual rate of $44,500.00. The salary is to be
paid out in twelve (12) payments of $3708.33 each, said payment to be made on the fifteenth day of each month beginning with
the July, 2012, payroll until the total salary shall have been paid;

That since this position is not a 12-month position, the following will apply:
41, The Employee shall accrue Sick Leave at the Administrative rate described in the Staff Policy Handbook (10 days/yr.);
2. The College will pay the Employee’s single (annual) membership in the health and denfal insurance if so desired by the
Employee;
3. The College will provide $50,000 of term life insurance coverage;
4. The Employee will be paid for regularly scheduled college holidays that fall within the dates of this contract,
5. The Employee will participate in the Kansas Public Employees Retirement System;

That the Employee shail be under the supervision of the President who is the executive officer and official representative of the
Board of Trustees. The President's requests and directions, therefore, shall have the weight and force they would have if they
came from the Board of Trustees directly;

That the said Employee agrees to abide by the written rules and regulations of the Board of Trustees of Highland Community
College which are hereby made a part of this contract and found in the Staff Policy Handbook;

That the College may terminate this contract prior to the above stated termination date in the event the Employee fails or
refuses to abide by and/or comply with the rules and regulations set forth in the Staff Policy Handbook or the requests and
directions made and/or given by the President of Highland Cornmunity College. If this contract is terminated by Highland
Community College for any of the reasons herein stated, the portion of the Employee's salary not paid at the time of the
=mployee’s termination shail be forfeited;

‘hat the Employee acknowledges that this contract of employment creates an obligation to perform the duties herein specified
for the period of time specified. In the event the Employee leaves, quits or otherwise terminates this contract of employment
prior to the ending date thereof, that portion of the Employee's salary not yet earned at the time the Employee leaves, quits or
otherwise terminates employment shall be forfeited. In the event the Employee leaves, quits or otherwise terminates their
employment prior to the end of the term herein specified, the Employee shall also be obligated to pay the College liquidated
damages in an amount equal to twenty percent (20%) of the contract. not yet earned by the Employee. Upon application by the
Employee to the Board of Trustees of Highland Community College, and for good cause shown, the Board may walve some or
all of the liquidated damages due from the Employee. All liquidated damages due hereunder shall be paid by the Employee to
the College within ten (10) days of the date on which the Employee leaves, quits, or otherwise terminates employment unless
the Board of Trustees of Highland Community College, upon application of the Employee and for good cause shown, authorizes
an extension of the time within such shall be paid;

That the legal and lawful deductions shall be made from the salary.

This contract is made contingent upon and shall become binding if and when the obligation created hereby shall be approved
and included in the budget and raised by taxes as provided by law.

Executed for the Board of Trustees My signature affixed below acknowledges

pursuant to authority granted by that | acceptall the terms and conditions
such Board. of this co. .
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~ . 4

David Reist, Presi he Employee
KYE. ID

Date

 

 
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HIGHLAND COMMUNITY COLLEGE

 

July 22, 2013

B. J. Smith

Women’s Basketball
Highland Community College
Highland, KS 68035

Dear B. J.:

This letter is to formally notify you of your change in status as an exempt Administrative
employee to an exempt at-will employee until further notice. The Board of Trustees
recently approved a 3% pay increase for Classified Employees effective July 1, 2013.
This rate increase has been applied to your salary and as a result, your pay rate is
$3,819.58 per month.

The Board of Trustees will again offer a full single premium for the health insurance
policy for full-time employees. If you have any questions regarding insurance, please
contact the Payroll Department.

The purpose of this letter is only to confirm your compensation and is not an
employment contract. Yours is an at-will position and neither you nor Highland
Community College is bound to continue the employment relationship if either chooses,
at its will, to end the relationship at any time. However, if you decide to leave this
position, please provide a written confirmation which includes the last date you intend to

_ work.

If you have any questions about any aspect of your employment, please contact Eileen
Gronniger in the Human Resources Department.

Thank you for your hard work and dedication this past year.

Sincerely, /

   
   

David Reist
President

cc! Supervisor
Payroll

 

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HIGHLAND COMMUNITY COLLEGE

Seed bs oe peg, el Collagvdg. lo tie. fhe Po ae {President's Copy)

46-MONTH FULT STINE ABMINISTRATIVE EMPLOYMENT CONTRACT
itis hereby agreed, by and between B. J, Smith, hereinafter referred to as the Employee, and Highland Community College, in
the City of Hightand, Doniphan County, Kansas, hereinafter referred to as the College,

That this agreement is effective for the contract year beginning July 1, 2015, and ending June 30, 2016, with said Employee to
serve in the capacity of Head Women’s Basketball Coach and other duties assigned by the President. While the contract year
covers a 12-month period, this position is a 10-month position with the specified work period of August 1, 2015, thru May 31,

2016.

By the terms of this contract, thé Employee Is to be paid $46,752 In twelve (12) payments of $3,896.00 each, said payments to
be made on the fifteenth day of each month beginning with the July 15, 2015, payroll.

Tha

me

since this position is not a 12-month position, the following will apply:

The Employee shall accrue Sick Leave at the Administrative rate described in the Staff Policy Handbook (10 days/yr.);
The College will pay the Employee's single (annual) health and dental insurance if so desired by the Employee,

The College will provide $50,000 of term life insurance coverage,

The Employee will be paid for regularly scheduled college holidays that fall within the dates of this contract;

The Employee will participate in the Kansas Public Employees Retirement System;

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That the Employee shall be under the supervision of the President who is the executive officer and official representative of the
Board of Trustees. The President's requests and directions, therefore, shall have the weight and force they would have if they

came from the Board of Trustees directly;

That the said Employee agrees to abide by the written rules and regulations of the Board of Trustees of Highland Community
College which are hereby made a part of this contract and found in the Staff Policy Handbook;

That the College may terminate this contract prior to the above stated termination date in the event the Employee fails or
refuses to abide by and/or comply with the rules and regulations set forth in the Staff Policy Handbook or the requests and
directions made and/or given by the President of Highland Community College. /f this contract is terminated by Highland
Community College for any of the reasons herein stated, the portion of the Employee's salary not paid at the time of the
Employee's termination shall be forfeited;

That the Employee acknowledges that this contract of employment creates an obligation to perform the duties herein specified
for the period of time specified. In the event the Employee leaves, quits or otherwise terminates this contract of employment
prior to the ending date thereof, that portion of the Employee's salary not yet earned at the time the Employee leaves, quits or
otherwise terminates employment shall be forfeited. In the event the Employee leaves, quits or otherwise terminates their
employment prior to the end of the term herein specified, the Employee shall also be obligated to pay the College liquidated
damages in an amount equal to twenty percent (20%) of the contract not yet earned by the Employee. Upon application by the
Employee to the Board of Trustees of Highland Community College, and for good cause shown, the Board may waive some or
all of the liquidated damages due from the Employee. All liquidated damages due hereunder shall be paid by the Employee to
the College within ten (10) days of the date on which the Employee leaves, quits, or otherwise terminates employment unless
the Board of Trustees of Highland Community College, upon application of the Employee and for good cause shown, authorizes
an extension of the time within such shall be paid;

That the legal and lawful deductions shall be made from the salary.

This contract is made contingent upon and shall become binding if and when the obligation created hereby shall be approved
and included in the budget and raised by taxes as provided by law.

 

 

Executed for the Board of Trustees pursuant My signature affixed below acknowledges that !

to authority granted by such Board. acce rallthe rms and conditions of this contract.
AO (ee _elsfo / IFS

David Reist, Presidert ° ’ Date B. J. Smith, Enipidyee Date

606 W, Main « Highland, KS 66035-4165 © (785} 442-6000 © FAX (785) 442-6100
Case 2:22-cv-02048-JAR-ADM Document 16-4 Filed 06/03/22 Page5of/7

 

HIGHLAND COMMUNITY COLLEGE

 

(President's Copy)
10-MONTH FULL-TIME ADMINISTRATIVE EMPLOYMENT CONTRACT

It is hereby agreed, by and between B. J. Smith, hereinafter referred fo as the Employee, and Highland Community College, in
the City of Highland, Doniphan County, Kansas, hereinafter referred to as the College,

That this agreement is effective for the contract year beginning July 1, 2016, and ending June 30, 2017, with said Employee to
serve in the capacity of Head Women’s Basketball Coach and other duties assigned by the President. While the contract year
covers a 12-month period, this position is a 10-month position with the specified work period of August 1, 2016, thru May 31,
2017.

By the terms of this contract, the Employee is to be paid $49,252 in twelve (12) payments of $4, 104.33 each, said payments to
be made on the fifteenth day of each month beginning with the July 15, 2016, payroll,

That since this position is not a 12-month position, the following will apply:
1. The Employee shall accrue Sick Leave at the Administrative rate described in the Staff Policy Handbook (10 days/yr.);
2. The College will pay the Employee's single (annual) health and dental insurance if so desired by the Employee;
3. The College will provide $50,000 of term life insurance coverage;
4. The Employee will be paid for regularly scheduled college holidays that fall within the dates of this contract;
5. The Employee will participate in the Kansas Public Employees Retirement System;

That the Employee shall be under the supervision of the President who js the executive officer and official representative of the
Board of Trustees. The President's requests and directions, therefore, shall have the weight and force they would have if they

came from the Board of Trustees directly;

That the said Employee agrees to abide by the written rules and regulations of the Board of Trustees of Highland Cormmunity
College which are hereby made a part of this contract and found in the Staff Policy Handbook;

That the College may terminate this contract prior to the above stated terrnination date in the event the Employee fails or
refuses to abide by and/or comply with the rules and regulations set forth in the Staff Policy Handbook or the requests and
directions made and/or given by the President of Highland Community College. If this contract is terminated by Highland
Community College for any of the reasons herein stated, the portion of the Employee’s salary not paid at the time of the
Employee's termination shail be forfeited;

That the Employee acknowledges that this contract of employment creates an obligation to perform the duties herein specified
for the period of time specified. In the event the Employee leaves, quits or otherwise terminates this contract of employment
prior to the ending date thereof, that portion of the Employee's salary not yet earned at the time the Employee leaves, quits or
otherwise terminates employment shall be forfeited. In the event the Employee leaves, quits or otherwise terminates their
employment prior to the end of the term herein specified, the Employee shall also be obligated to pay the College liquidated
damages in an amount equal to twenty percent (20%) of the contract not yet earned by the Employee. Upon application by the
Employee to the Board of Trustees of Highland Community College, and for good cause shown, the Board may waive some or
all of the liquidated damages due from the Employee. All liquidated damages due hereunder shall be paid by the Employee to
the College within ten (10) days of the date on which the Employee leaves, quits, or otherwise terminates employment unless
the Board of Trustees of Highland Community College, upon application of the Employee and for good cause shown, authorizes
an extension of the time within such shalt be paid;

That the legal and lawful deductions shall be made from the salary.

This contract is made contingent upon and shall becorne binding if and when the obligation created hereby shall be approved
and included in the budget and raised by taxes as provided by law.

 

Executed for the Board of Trustees pursuant My signature affixed below acknowledges that |
. to authority granted by such Board. accepfall terms and conditions of this contract.
Qo [fo Yes, FS je
DaVid Reist, Presideft Date Bid. sin Th Employee Date

 

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HIGHLAND COMMUNITY COLLEGE

 

(Employee Copy)
10-MONTH FULL-TIME ADMINISTRATIVE EMPLOYMENT CONTRACT

It is hereby agreed, by and between B. J. Smith, hereinafter referred to as the Employee, and Highland Community College, in
the City of Highland, Doniphan County, Kansas, hereinafter referred to as the College,

That this agreement is effective for the contract year beginning July 1, 2018, and ending June 30, 2019, with said Employee to
serve in the capacity of Head Women's Basketball Coach and other duties assigned by the President. While the contract year
covers a 12-month period, this position is a 10-month position with the specified work period of August 1, 2018, thru May 31,
2019.

By the terms of this contract, the Employee is to be paid $52,748.89 in twelve (12) payments of $4,395.74 each, said payments
to be made on the fifteenth day of each month beginning with the July 15, 2018, payroll.

That since this position is not a 12-month position, the following will apply:
1. The Employee shall accrue Sick Leave at the Administrative rate described in the Staff Policy Handbook (10 days/yr.);
2. The College will pay the Employee's single (annual) health and dental insurance if so desired by the Employee;
3. The College wil provide $50,000 of term life insurance coverage;
4, The Employee will be paid for regularly scheduled college holidays that fall within the dates of this contract;
5. The Employee will participate in the Kansas Public Employees Retirement System;

That the Employee shall be under the supervision of the President who is the executive officer and official representative of the
Board of Trustees. The President's requests and directions, therefore, shall have the weight and force they would have if they
came from the Board of Trustees directly;

That the said Employee agrees to abide by the written rules and regulations of the Board of Trustees of Highland Community
College which are hereby made a part of this contract and found in the Staff Policy Handbook;

That the College may terminate this contract prior to the above stated termination date in the event the Employee fails or
refuses to abide by and/or comply with the rules and regulations set forth in the Staff Policy Handbook or the requests and
directions made and/or given by the President of Highland Community College. If this contract is terminated by Highland
Community College for any of the reasons herein stated, the portion of the Employee’s salary not paid at the time of the
Employee's termination shall be forfeited;

That the Employee acknowledges that this contract of employment creates an obligation to perform the duties herein specified
for the period of time specified. In the event the Employee leaves, quits or otherwise terminates this contract of employment
prior to the ending date thereof, that portion of the Employee's salary not yet earned at the time the Employee leaves, quits or
otherwise terminates employment shall be forfeited. In the event the Employee leaves, quits or otherwise terminates their
employment prior to the end of the term herein specified, the Employee shall also be obligated fo pay the College liquidated
damages in an amount equal to twenty percent (20%) of the contract not yet earned by the Employee. Upon application by the
Employee to the Board of Trustees of Highland Community College, and for good cause shown, the Board may waive some or
all of the liquidated damages due from the Employee. All liquidated damages cue hereunder shall be paid by the Employee to
the College within ten (10) days of the date on which the Employee leaves, quits, or otherwise terminates employment unless
the Board of Trustees of Highland Community College, upon application of the Employee and for good cause shown, authorizes
an extension of the time within such shall be paid;

That the legal and lawful deductions shall be made from the salary.

This contract is made contingent upon and shail become binding if and when the obligation created hereby shall be approved
and included in the budget and raised by taxes as provided by law.

 

 

 

Executed for the Board of Trustees pursuant My signature affixed below acknowledges that |

to nf) by such Board. accept éil the terms and conditions of this contract,
Lf fe jo ES eshte IO ADIN

pl President Date B. J. smi? Employee Date

 

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HIGHLAND COMMUNITY COLLEGE

 

(President's Copy)
10-MONTH FULL-TIME ADMINISTRATIVE EMPLOYMENT CONTRACT

It is hereby agreed, by and between B. J. Smith, hereinafter referred fo as the Employee, and Highland Community College, in
the City of Highland, Doniphan County, Kansas, hereinafter referred to as the College,

That this agreement is effective for the contract year beginning July 1, 2019, and ending June 30, 2020, with said Employee to
serve in the capacity of Head Women’s Basketball Coach and other duties assigned by the President. While the contract year
covers a 12-month period, this position is a 10-month position with the specified work period of August 1, 2019, thru May 31,
2020.

By the terms of this contract, the Employee is to be paid $54,331.36 in twelve (12) payments of $4,527.61 each, said payments
to be made on the fifteenth day of each month beginning with the July 15, 2019, payroll.

That since this position is not a 12-month position, the following will apply:
1. The Employee shall accrue Sick Leave at the Administrative rate described in the Staff Policy Handbook (10 days/yr.);
2. The College will pay the Empioyee’s single (annual) health and dental insurance if so desired by the Employee;
3. The College will provide $50,000 of term life insurance coverage;
4. The Employee will be paid for regularly scheduled college holidays that fall within the dates of this contract;
5. The Employee will participate in the Kansas Public Employees Retirement System;

That the Employee shall be under the supervision of the President who Is the executive officer and official representative of the
Board of Trustees. The President's requests and directions, therefore, shall have the weight and force they would have if they
came from the Board of Trustees directly;

That the said Employee agrees to abide by the written rules and regulations of the Board of Trustees of Highland Community
College which are hereby made a part of this contract and found in the Staff Policy Handbook;

That the College may terminate this contract prior to the above stated termination date in the event the Employee fails or
refuses to abide by and/or comply with the rules and regulations set forth in the Staff Policy Handbook or the requests and
directions made and/or given by the President of Highland Community College. If this contract is terminated by Highland
Community College for any of the reasons herein stated, the portion of the Employee’s salary not paid at the time of the
Employee's termination shall be forfeited;

That the Employee acknowledges that this contract of employment creates an obligation to perform the duties herein specified
for the period of time specified. In the event the Employee leaves, quits or otherwise terminates this contract of employment
prior to the ending date thereof, that portion of the Employee's salary not yet earned at the time the Employee leaves, quits or
otherwise terminates employment shall be forfeited. In the event the Employee leaves, quits or otherwise terminates their
employment prior to the end of the term herein specified, the Employee shall also be obligated to pay the College liquidated
damages in an amount equal to twenty percent (20%) of the contract not yet earned by the Employee. Upon application by the
Employee to the Board of Trustees of Highland Community College, and for good cause shown, the Board may waive some or
all of the liquidated damages due from the Employee. All liquidated damages due hereunder shail be paid by the Employee to
the College within ten (10) days of the date on which the Employee leaves, quits, or otherwise terminates employment unless
the Board of Trustees of Highland Community College, upon application of the Employee and for good cause shown, authorizes
an extension of the time within such shall be paid;

That the legal and lawful deductions shall be made from the salary.

This contract is made contingent upon and shall become binding if and when the obligation created hereby shall be approved
and included in the budget and raised by taxes as provided by law.
Executed for the Board of Trustees pursuant j re affixed below acknowledges that |

to authority granted by such Board.
YAs/Y KA Call

Deborah Fex, President Date B. J. Shrith, Employee Date

 

 

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